        Case 1:15-cv-01245-VJW Document 68 Filed 07/15/19 Page 1 of 1




      In the United States Court of Federal Claims
                                     No. 15-1245C
                                 (Filed July 15, 2019)

* * * * * * * * * * * * * * * * * *
                                  *
ESTATE OF ERNEST                  *
GOTTDIENER, et al.,               *
                                  *
                 Plaintiffs,      *
                                  *
      v.                          *
                                  *
THE UNITED STATES,                *
                                  *
                 Defendant.       *
                                  *
* * * * * * * * * * * * * * * * * *


                                       ORDER

       The Court had anticipated that the September 20, 2018 joint status report
would be a collaborative effort, addressing the relevance, if any, of the Supreme
Court decision in Carpenter v. United States, No. 16-402, to the pending motion to
dismiss the complaint. But since plaintiffs were not able to file their position until
the next day, the government’s position was formulated without reference to what
the plaintiffs were contending about the opinion. Under these circumstances, the
Court would like the government to file a short paper in response to the position
taken by plaintiffs in the Joint Status Report Addendum, ECF No. 67. This paper
may be filed on or by Tuesday, July 23, 2019.

IT IS SO ORDERED.


                                        s/ Victor J. Wolski
                                        VICTOR J. WOLSKI
                                        Senior Judge
